 Case 2:17-cv-00315-DBH Document 48 Filed 09/07/18 Page 1 of 2                       PageID #: 288



                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


CAROLYN MCKENZIE,                                )
                                                 )
                           Plaintiff,            )
                                                 )
                   v.                            )        Case No. 2:17-cv-00315-DBH
                                                 )
R & E ASSOCIATES, et al.,                        )
                                                 )
                           Defendants            )

                                  STIPULATION OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a)(1) and Local Rule 41.1(a), the parties hereby stipulate,

 by and through undersigned counsel, that all claims are dismissed with prejudice and without

 costs.

          Dated: September 7, 2018


 /s/ Laura H. White ____________                /s/ Timothy D. Connolly ____________
 Laura H. White, Me. Bar #: 4025                Timothy D. Connolly
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 /s/ Peter F. Herzog___________                 /s/ John S. Whitman___________
 Peter F. Herzog                                John S. Whitman
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Case 2:17-cv-00315-DBH Document 48 Filed 09/07/18 Page 2 of 2                   PageID #: 289



                               CERTIFICATE OF SERVICE

       I, Laura H. White, hereby certify that on this 7th day of September, 2018, I filed the
foregoing Stipulation of Dismissal via the Court’s CM/ECF system, which will automatically
send a notice of filing to all counsel of record.


Dated: September 7, 2018                    /s/ Laura H. White
                                            _________________________________
                                            Laura H. White
                                            Attorney for Plaintiff
                                            BERGEN & PARKINSON, LLC
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